Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 1 of 12 PageID: 1


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                         :
  ANNE H. DANIEL,                                        : CASE NO: 3:20-cv-00509
                                                         :
         Plaintiff,                                      : CIVIL ACTION
                                                         :
  vs.                                                    :
                                                         :       COMPLAINT
  SMALL WORLD COFFEE CORPORATION.,                       :
  a New Jersey corporation, d/b/a SMALL                  :
  WORLD COFFEE-WITHERSPOON ST, and                       :
  HEH-ML7 INVESTMENT HOLDINGS, LLC,                      :
  a New Jersey limited liability company,                :
                                                         :
              Defendants,                                :


         Plaintiff, ANNE H. DANIEL (hereinafter the “Plaintiff”), through hers

  undersigned counsel, hereby files this Complaint and sues SMALL WORLD COFFEE

  CORPORATION., a New Jersey corporation, d/b/a SMALL WORLD COFFEE-

  WITHERSPOON ST, and HEH-ML7 INVESTMENT HOLDINGS, LLC, a New Jersey

  limited liability company, (hereinafter, collectively, the “Defendants”), for injunctive

  relief, attorney’s fees and costs (including, but not limited to, court costs and expert fees)

  pursuant to 42 U.S.C. §12181, et. seq., (“AMERICANS WITH DISABILITIES ACT” or

  “ADA”)       and     N.J.S.A.   10:5-1   et.   seq.,   (“NEW    JERSEY      LAW     AGAINST

  DISCRIMINATION” or “LAD”) and alleges:

                                  JURISDICTION AND PARTIES

         1.          This is an action for declaratory and injunctive relief pursuant to Title III

  of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred

  to as the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331

  and §343.



                                                   1
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 2 of 12 PageID: 2


         2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all

  events giving rise to this lawsuit occurred in New Jersey.

         3.      The remedies provided by the New Jersey Law Against Discrimination are

  not exclusive and state administrative remedies need not be exhausted in connection with

  suits brought under the federal Civil Rights Act.

         4.      At the time of Plaintiff’s visit and/or attempted visit to SMALL WORLD

  COFFEE-WITHERSPOON ST., prior to instituting the instant action, and during 2019,

  ANNE H. DANIEL (hereinafter referred to as “Plaintiff”) was a resident of the State of

  New Jersey, residing at 14 Hampstead Court, Princeton, New Jersey 08540, and suffers

  from a condition that constitutes a “qualified disability” under the Americans With

  Disability Act of 1990, in that she is quadriplegic as a result of C1-C2 Atlantoaxial

  Instability caused by a trauma at birth, and uses a wheelchair as her primary means of

  mobility. The Plaintiff personally visited Defendants’ Property, but was denied full and

  equal access to, and full and equal enjoyment of, the facilities within Defendants’

  Property, which is the subject of this lawsuit.

         5.      The Defendants, SMALL WORLD COFFEE CORPORATION., a New

  Jersey corporation, d/b/a SMALL WORLD COFFEE-WITHERSPOON ST, and HEH-

  ML7 INVESTMENT HOLDINGS, LLC, a New Jersey limited liability company, are

  authorized to conduct, and are conducting business within the State of New Jersey. Upon

  information and belief, SMALL WORLD COFFEE CORPORATION., a New Jersey

  corporation, d/b/a SMALL WORLD COFFEE-WITHERSPOON ST, is the owner, lessee

  and/or operator of the real property (the “Subject Facility”), and the owner of the

  improvements where the Subject Facility is located which is the subject of this action, the

  facility commonly referred to as SMALL WORLD COFFEE-WITHERSPOON ST,



                                                2
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 3 of 12 PageID: 3


  located at 14 Witherspoon Street, Princeton, New Jersey, 07016 (hereinafter and

  heretofore referred to collectively as “Defendants’ Property”), and maintains and controls

  the Subject Facility. Upon information and belief, HEH-ML7 INVESTMENT

  HOLDINGS, LLC, a New Jersey limited liability company, is the owner, lessor and/or

  operator of the real property where the Subject Facility is located which is the subject of

  this action, and maintains and controls the subject real property.

         6.      All events giving rise to this lawsuit occurred in Princeton Township,

  Mercer County, State of New Jersey. Venue is proper in this Court as the premises is

  located in the State of New Jersey

   COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         7.      On or about July 26, 1990, Congress enacted the Americans With

  Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

  provided one and a half years from enactment of the statute to implement its

  requirements. The effective date of the Title III of the ADA was January 26, 1992. 42

  U.S.C. §12181; 20 C.F.R. §36.508(a).

         8.      Congress found, among other things, that:

                 (i)    some 43,000,000 Americans have one or more physical or
                 mental disabilities, and this number shall increase as the
                 population continues to grow older;

                 (ii)    historically, society has tended to isolate and segregate
                 individuals with disabilities, and, despite some improvements,
                 such forms of discrimination against disabled individuals
                 continue to be a pervasive social problem, requiring serious
                 attention;

                 (iii) discrimination against disabled individuals persists in
                 such critical areas as employment, housing, public
                 accommodations, transportation, communication, recreation,
                 institutionalization, health services, voting and access to public
                 services and public facilities;



                                               3
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 4 of 12 PageID: 4




                 (iv)     individuals with disabilities continually suffer forms of
                 discrimination, including outright intentional exclusion, the
                 discriminatory effects of architectural, transportation, and
                 communication barriers, failure to make modifications to existing
                 facilities and practices. Exclusionary qualification standards and
                 criteria, segregation, and regulation to lesser services, programs,
                 benefits, or other opportunities; and,

                (v)      the continuing existence of unfair and unnecessary
                 discrimination and prejudice denies people with disabilities the
                 opportunity to compete on an equal basis and to pursue those
                 opportunities for which our country is justifiably famous, and
                 costs the United States billions of dollars in unnecessary expenses
                 resulting from dependency and non-productivity.

         42 U.S.C. §12101(a)(1)-(3), (5) and (9).

         9.      Congress explicitly stated that the purpose of the ADA was to:

                 (i)      provide a clear and comprehensive national mandate for
                 the elimination of discrimination against individuals with
                 disabilities;

                 (ii)   provide clear, strong, consistent, enforceable standards
                 addressing discrimination against individuals with disabilities;
                 and,

                 (iii) invoke the sweep of congressional authority, including the
                 power to enforce the fourteenth amendment and to regulate
                 commerce, in order to address the major areas of discrimination
                 faced on a daily by people with disabilities.

         42 U.S.C. §12101(b)(1)(2) and (4).

         10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants’

  Property, is a place of public accommodation in that it is a restaurant which provides,

  food, beverages and other services to the public.

         11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

  and/or Subject Facility which is the subject of this action is a public accommodation

  covered by the ADA and which must be in compliance therewith.




                                               4
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 5 of 12 PageID: 5


         12.     The Plaintiff is informed and believes, and therefore alleges, that the

  Subject Facility has begun operations and/or undergone substantial remodeling, repairs

  and/or alterations since January 26, 1990.

         13.     Defendants have discriminated, and continue to discriminate, against the

  Plaintiff, and others who are similarly situated, by denying full and equal access to, and

  full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

  accommodations at Defendants’ Property, in derogation of 42 U.S.C. §12101 et. seq., and

  as prohibited by 42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers

  pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

         14.     The Plaintiff has been unable to, and continues to be unable to, enjoy full

  and equal safe access to, and the benefits of, all the accommodations and services offered

  at Defendants’ Property. Prior to the filing of this lawsuit, and during 2019, Plaintiff

  personally visited and/or attempted to visit Defendants’ Property, with the intention of

  using Defendants’ facilities, but was denied full and safe access to the facilities of

  Defendants’ Property, and therefore suffered an injury in fact. In addition, Plaintiff

  continues to desire to visit Defendants’ Property in the future, but continues to be injured

  in that he is unable to and continues to be discriminated against due to the architectural

  barriers which remain at Defendants’ Property, all in violation of the ADA.

         15.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

  Department of Justice, Office of the Attorney General, promulgated Federal Regulations

  to implement the requirements of the ADA, known as the Americans with Disabilities

  Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which

  said Department may obtain civil penalties of up to $110,000 for the first violation and

  $150,000 for any subsequent violation.



                                               5
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 6 of 12 PageID: 6


          16.          The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181 et.

  seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff

  as a result of inter alia, the following specific violations:


                (i)       Failure to provide an accessible main entrance to the Subject Facility,

                          due to multiple steps at said entrance, without an ADA-compliant

                          ramp and/or an ADA-compliant wheelchair lift, in violation of 28

                          C.F.R. Part 36, Section 4.14.

                (ii)      Failure to provide an accessible auxiliary entrance to the Subject

                          Facility, due to multiple steps at said entrance, without an ADA-

                          compliant ramp and/or an ADA-compliant wheelchair lift, in violation

                          of 28 C.F.R. Part 36, Section 4.14.

                (iii)     Failure to provide a safe and accessible means of egress from the

                          Subject Facility, in violation of 28 C.F.R. Part 36, Section 4.3.10.

                (iv)      Failure to provide an accessible pathway to the rear dining area of the

                          Subject Facility, due to multiple steps leading to said rear dining area,

                          without   an ADA-compliant ramp            and/or an ADA-compliant

                          wheelchair lift, in violation of 28 C.F.R. Part 36, Section 4.14.

                (v)       The sales counter, in the Subject Facility, is inaccessible, in violation

                          of 28 C.F.R. Part 36, Section 7.2(1), which requires that a portion of

                          such a sales counter, which is a minimum of 36 inches (915 mm) in

                          length, shall be provided with a maximum height of 36 inches (915

                          mm) above the finished floor.




                                                    6
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 7 of 12 PageID: 7


           (vi)    Various items of merchandise for sale, located on high shelves, are at

                   inaccessible heights, in violation of 28 C.F.R. Part 36.

           (vii)   The large communal dining table is set at an inaccessible height, in

                   violation of 28 C.F.R. Part 36, Section 4.32.4.

           (viii) The self-service microwave is located at an inaccessible height, in

                   violation of 28 C.F.R. Part 36.

           (ix)    The self-service toasters are located at an inaccessible height, in

                   violation of 28 C.F.R. Part 36.

           (x)     Failure to install an accessible mirror in the main level restroom, in

                   compliance with 28 C.F.R. Part 36, Section 4.19.6.

           (xi)    Failure to provide a paper towel dispenser in the main level restroom,

                   at an accessible height, as required by 28 C.F.R. Part 36, Section 4.2.

           (xii)   Failure to provide an accessible flushing mechanism on the toilet in

                   main level restroom, in violation of 28 C.F.R. Part 36, Section 4.16.5.

           (xiii) Failure to provide a coat hook in the main level restroom, at an

                   accessible height, as required by 28 C.F.R. Part 36, Section 4.1.

           (xiv)   Failure to provide ADA-compliant designation signage at the main

                   level restroom, in violation of 28 C.F.R. Part 36, Section 4.30.

           (xv)    Self-service condiments, sugar, cutlery, cup tops, and milk pitchers,

                   located on top of a high counter, are at inaccessible reach ranges, in

                   violation of the requirements of 28 C.F.R. Part 36, Section 5.6.

           (xvi)   The self-service water dispenser, and disposable water cups, are at an

                   inaccessible reach range, in violation of 28 C.F.R. Part 36, Section 4.2.




                                             7
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 8 of 12 PageID: 8


                (xvii) The cash register at the high sales counter is at an inaccessible height,

                        in violation of 28 C.F.R. Part 36.

                (xviii) Failure to provide a securely attached floor mat at the exterior of the

                        main entrance, in violation of 28 C.F.R. Part 36, Section 4.5.3.

                (xix)   Failure to provide a securely attached floor mat at the interior of the

                        main entrance, in violation of 28 C.F.R. Part 36, Section 4.5.3.

                (xx)    Failure to provide securely attached floor mats in front of the sales

                        counters, in violation of 28 C.F.R. Part 36, Section 4.5.3.

                (xxi)   Failure to provide a securely attached floor mat at the rear emergency

                        exit, in violation of 28 C.F.R. Part 36, Section 4.5.3.

                (xxii) Failure to provide ADA-compliant signage at the rear emergency exit,

                        in violation of 28 C.F.R. Part 36, Section 4.30.

                (xxiii) The exterior pathway from the rear emergency exit, is not ADA-

                        compliant, in violation of 28 C.F.R. Part 36, Section 4.3.10.

                (xxiv) Failure to provide adequate directional and accurate informational

                        signage throughout the Subject Facility, as required by 28 C.F.R. Part

                        36, Section 4.1.3(16).

                (xxv) Failure to provide signage, in the Subject Facility, addressing people

                        with disabilities telling them that accessible services are provided, as

                        required by 28 C.F.R. Part 36, Section 4.30.4.

          17.      Upon information and belief, there are other current violations of the ADA

  at Defendants’ Property, and only once a full inspection is done can all said violations be

  identified.




                                                  8
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 9 of 12 PageID: 9


         18.       To date, the readily achievable barriers and other violations of the ADA

  still exist and have not been remedied or altered in such a way as to effectuate

  compliance with the provisions of the ADA.

         19.       Pursuant to the ADA, 42 U.S.C. §12101, et seq., and 28 C.F.R. §36.304,

  the Defendants were required to make the Subject Facility, a place of public

  accommodation, accessible to persons with disabilities since January 28, 1992. To date,

  the Defendants have failed to comply with this mandate.

         20.       The Plaintiff has been obligated to retain undersigned counsel for the

  filing and prosecution of this action. The Plaintiff is entitled to have hers reasonable

  attorney’s fees, costs and expenses paid by the Defendants, pursuant to 42 U.S.C.

  §12205.

         21.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

  grant the Plaintiff’s injunctive relief; including an order to alter the subject facilities to

  make them readily accessible to, and useable by, individuals with disabilities to the extent

  required by the ADA, and closing the subject facilities until the requisite modifications

  are completed.

                          COUNT II- VIOLATION OF THE
                    NEW JERSEY LAW AGAINST DISCRIMINATION

         22.       Plaintiff repeats the allegations contained in paragraphs 1-21 as if they

  were expressly stated herein.

         23.       The New Jersey LAD provides that: “[i]t shall be ... an unlawful

  discrimination ... [f]or any owner, proprietor, superintendent, agent, or employee of any

  place of public accommodation, directly or indirectly, to refuse, withhold from or deny to




                                                9
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 10 of 12 PageID: 10


   any person any of the accommodations, advantages, facilities or privileges thereof or to

   discriminate against any person in the furnishing thereof....”

          24.     The New Jersey LAD further provides that: “All of the provisions of the

   act to which this act is a supplement shall be construed to prohibit any unlawful

   discrimination against any person because such person is or has been at any time

   handicapped….”

          25.     The New Jersey LAD further provides that: “A place of public

   accommodation’ shall include, but not be limited to: any tavern or services of any kind;

   any restaurant, eating house, or place where food is sold for consumption of the premises;

   ... other place of amusement....”.

          26.     Defendants’ Property is a place of public accommodation as defined in the

   LAD.

          27.     The New Jersey LAD further provides that: “All remedies available in

   common law tort actions shall be available to prevailing plaintiffs. These remedies are in

   addition to any provided by this act or any other statute.”

          28.     The New Jersey LAD further provides that anyone who violates the LAD

   is liable for penalties, not to exceed $10,000, in addition to any other relief or affirmative

   action provided by law.

          29.     Plaintiff visited Defendants’ Property, during 2019, but was unable to

   equally access the goods, services, and accommodations therein due to the architectural

   barriers set forth above in this Complaint.

          30.     Plaintiff presently has plans and a desire to visit Defendants’ Property

   again but continues to experience serious difficulty due to the barriers set forth herein

   which, upon information and belief, still exist.



                                                 10
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 11 of 12 PageID: 11


          31.     By maintaining architectural barriers and policies that discriminate against

   people with disabilities and through the other actions described hereinabove, Defendants

   have directly and/or indirectly refused, withheld from, and denied to Plaintiff the full and

   equal enjoyment of their place of accommodation because of her disability.

          32.     Plaintiff has been damaged and will continue to be damaged by this

   discrimination.

          WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

   and requests the following injunctive and declaratory relief:

          A.      The Court declare that the subject property and Subject Facility owned,

                  operated, leased, controlled and/or administered by the Defendants are

                  violative of the ADA and of the New Jersey LAD;

          B.      The Court enter an Order requiring the Defendants to alter their facilities

                  and amenities to make them accessible to and usable by individuals with

                  disabilities to the full extent required by the Title III of the ADA and by

                  the New Jersey LAD;

          C.      The Court enter an Order directing the Defendants to evaluate and

                  neutralize their policies, practices and procedures toward persons with

                  disabilities, for such reasonable time so as to allow the Defendants to

                  undertake and complete corrective procedures to the Subject Facility;

          D.      The Court direct Defendants to pay a penalty to Plaintiff for their violation

                  of the LAD in an amount not to exceed $10,000.

          E.      The Court award reasonable attorney’s fees, all costs (including, but not

                  limited to court costs and expert fees) and other expenses of suit, to the

                  Plaintiff; and



                                               11
Case 3:20-cv-00509-BRM-ZNQ Document 1 Filed 01/15/20 Page 12 of 12 PageID: 12


          F.     The Court award such other and further relief as it deems necessary, just

                 and proper.

   Dated: This 15th day of January, 2020.

                                            Respectfully submitted,

                                              By: S/ Robert J. Mirel
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                                             12
